






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00596-CR






Gary Buckland, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT

NO. 2034635, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		The district court convicted Gary Buckland of the offense of murder.  See Tex. Penal
Code Ann. § 19.02(b)(1) (West 2003).  The district court sentenced Buckland to thirty years'
imprisonment.

		Appellant's court-appointed attorney has filed a motion to withdraw and a brief
concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S.
75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684
(Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous
v.&nbsp;State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's brief and
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted. 

		In our review of the record, we have discovered a clerical error in the district court's
written judgment of conviction.  The judgment indicates that the plea to the offense was guilty.  The
trial transcript, however, reflects that Buckland pleaded not guilty.  This Court has the authority to
modify incorrect judgments when the necessary information is available to do so.  See Tex. R. App.
P. 43.2(b); Bigley v. State, 865 S.W.2d 26, 27-28 (Tex. Crim. App. 1993); Smith v. State,
176&nbsp;S.W.3d 907, 920 (Tex. App.--Dallas 2005, pet. ref'd) (citing Asberry v. State, 813 S.W.2d 526,
529 (Tex. App.--Dallas 1991, pet. ref'd)).

		We modify the judgment to reflect that the plea to the offense was not guilty.  As
modified, the judgment of conviction is affirmed.



						____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Modified and, as Modified, Affirmed

Filed:   August 14, 2008

Do Not Publish


